590 F.2d 316
    100 L.R.R.M. (BNA) 2689, 85 Lab.Cas.  P 11,158
    CONSTRUCTION, BUILDING MATERIALS AND MISCELLANEOUS DRIVERS,LOCAL NO. 83, affiliated with the InternationalBrotherhood of Teamsters, Chauffeurs,Warehousemen and Helpers ofAmerica, Petitioner,v.NATIONAL LABOR RELATIONS BOARD, Respondent.
    No. 78-1081.
    United States Court of Appeals,Ninth Circuit.
    Jan. 29, 1979.
    
      Michael J. Keenan, Phoenix, Ariz., for petitioner.
      Jesse I. Etelson, Atty., Washington, D. C., for respondent.
      Petition to Review a Decision of the National Labor Relations Board and Cross-Application of the National Labor Relations Board for Enforcement of its Order.
      Before ELY, TRASK and HUG, Circuit Judges.
      PER CURIAM:
    
    
      1
      The Decision and Order of the Board is reported at 233 NLRB No. 82.
    
    
      2
      The underlying facts giving rise to the controversy are carefully explored in the decision of Administrative Law Judge Jenson.  In our opinion, there was more than ample evidence to support the conclusion that the Union illegally discriminated against its involved member, violating § 8(a)(3) of the Act, and thus engaged in grossly unfair labor practices, as to the involved employee, within the meaning of § 8(b)(1)(A) and (2) and § 2(6) and (7) of the Act.  Accordingly, we reject the contentions made by the Union in its Petition to Review and grant the Board's Cross-Application for the enforcement of its Order.  The Board's Order will, by this Court, be
    
    
      3
      ENFORCED.
    
    